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7
                                         UNITED STATES DISTRICT COURT
8                                       NORTHERN DISTRICT OF CALIFORNIA
                                            SAN FRANCISCO DIVISION
9
     UNITED STATES OF AMERICA,                      )   No. CR-05-00216-WHA
10                                                  )
               Plaintiff,                           )
11                                                  )
         v.                                         )
12                                                  )   [Proposed] SPEEDY TRIAL ORDER
     LEROY E. FRITTS, and                           )
13   RODERICK ALYN PRESCOTT,                        )
                                                    )
14             Defendants.                          )
                                                    )
15
               On June 29, 2005, the defendants, Leroy E. Fritts and Roderick Alyn Prescott, were
16
     charged in a Superseding Indictment with two counts each of tax evasion in violation of 26
17
     U.S.C. § 7201, and one count of conspiracy to defraud the United States in violation of 18 U.S.C.
18
     § 371. Mr. Fritts was additionally charged with one count of witness tampering in violation of 18
19
     U.S.C. § 1512(b). Mr. Fritts was arraigned on August 10, 2005. Mr. Prescott was arraigned on
20
     August 16, 2005.
21
               The parties appeared before the Court on August 16, 2005, for a status conference.
22
     During the hearing, the Court set the matter over to October 4, 2005, at 2:00 p.m. The parties
23
     agree that the time between August 16, 2005, and October 4, 2005, is properly excludable under
24
     the Speedy Trial Act due to the complexity of the case and for the continuity and effective
25
     preparation of counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(ii) and (iv), and that the
26
     ends of justice to be served in excluding the time between these dates outweighs the public’s and
27
     the defendants’ interests in a speedy trial.
28

     [Proposed ] S peedy Trial Ord er
     Ccase No. CR-05-00216 WHA
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1             Accordingly, the parties respectfully request that the Court exclude time from August 16,
2    2005, through October 4, 2005, due to the complexity of the case and for the continuity and
3    effective preparation of counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv).
4                                                  Respectfully submitted,
5                                                  KEVIN V. RYAN
                                                   United States Attorney
6
7    Dated: August 16, 2005                        /s/ Emily J. Kingston
                                                   EMILY J. KINGSTON
8                                                  Assistant United States Attorneys
                                                   Attorneys for the United States of America
9
10                                                 BARRY J. PORTMAN
                                                   Federal Public Defender
11
12   Dated: August 16, 2005                        /s/ David Fermino
                                                   DAVID FERMINO
13                                                 Assistant Public Defender
                                                   Attorneys for Defendant Leroy E. Fritts
14
15
     Dated: August 16, 2005                         /s/ Joel F. Hansen
16                                                 JOEL F. HANSEN
                                                   Attorney for Defendant Roderick Alyn Prescott
17
18
                                                  ORDER
19
              IT IS HEREBY ORDERED that the time from August 16, 2005, through October 4,
20
     2005, is excluded under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and (B)(ii)
21
     and (iv), based on the reasons set forth above.
22                                                                    S DISTRICT
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                August 22, 2005                                                 RDERE
                                                        UNIT




24   Dated:                                                      IT IS S
                                                                         OO
                                                   HONORABLE WILLIAM H. ALSUP
                                                                                                    R NIA




25                                                 United States District Judge
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                                                                               illiam A
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                                                                      Judge W
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26
                                                          RT




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